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 ATTORNEYS FOR DEBTOR
 AND DEBTOR IN POSSESSION

                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                     FORT WORTH DIVISION

  In re:                                            )
                                                    )
  TENET CONCEPTS, LLC,                              )       Case No. 18-40270-rfn-11
                                                    )
                        Debtor.                     )       Chapter 11 Case
                                                    )
                                                    )

                   DEBTOR’S COMBINED RESPONSE TO PLAN OBJECTIONS

 TO THE HONORABLE EDWARD L. MORRIS, UNITED STATES BANKRUPTCY JUDGE:

           The Debtor files this Combined Response to Plan Objections, and in support states

 as follows:

           1.     On November 7, 2018, the Debtor filed the Plan of Reorganization for Tenet

 Concepts, LLC (the “Plan”) [Docket No. 142] and Disclosure Statement in Support of the Plan of

 Reorganization for Tenet Concepts, LLC (the “Disclosure Statement”) [Docket No. 143].

           2.     On November 7, 2018, the Debtor filed its Motion for Entry of Order (A)

 Conditionally Approving Proposed Disclosure Statement; (B) Scheduling Combined Hearing on

 Approval of Disclosure Statement and Confirmation of Chapter 11 Plan; and (C) Setting Related

 Deadlines (the “Scheduling Motion”) [Docket No. 144].

           3.     On November 8, 2018, the Court granted the Scheduling Motion and entered an

 order at Docket No. 154 that conditionally approved the Disclosure Statement and set December
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 14, 2019 as the deadline for objections to the adequacy of the Disclosure Statement or to

 confirmation of the Plan. The hearing to consider the Plan and Disclosure Statement has been

 continued to May 30, 2019, and the Debtor’s deadline to respond to any objections has been

 continued to May 23, 2019. See, Dkt No. 246.

        4.      On December 14, 2018, Triumph Business Capital (“Triumph”) filed the Limited

 Conditional Objection of Advance Business Capital, LLC d/b/a Triumph Business Capital, to

 Debtor, Tenet Concepts, LLC’s Plan of Reorganization [Dkt No. 174] (the “Triumph Objection”).

 The Debtor has a factoring agreement with Triumph. Triumph is the only member of Class 1, but

 at this time Triumph does not have a claim against the Debtor because all Amazon invoices sold

 to Triumph by the Debtor have been paid in full. Moreover, on February 8, 2019, the Debtor filed

 the First Modification to the Plan of Reorganization for Tenet Concepts, LLC [Dkt No. 189], which

 resolved the Triumph Objection.

        5.      On December 14, 2018, Jeffrey Lines (“Lines”) and Willie Mukes (“Mukes”) also

 filed objections to the Plan and Disclosure Statement on behalf of themselves and other putative

 FLSA collective members. Docket number 176 is the “Lines Objection,” and docket number 177

 is the “Mukes Objection”].

        6.      On May 20, 2019, the Court entered orders disallowing proofs of claim filed by

 Lines and Mukes for themselves and for others similarly situated. See, docket numbers 261, 262,

 263 and 264. Those orders and the findings of fact and conclusions of law given from the bench

 on May 15, 2019 either overrule or moot the Lines Objection and the Mukes Objection.

        7.      Because the Court has disallowed the Lines individual claim and the Lines

 collective claim (Class 6) and the Mukes individual claim and the Mukes collective claim (Class

 7) in their entirety, the Debtor contends that neither Lines nor Mukes has standing to object to

 confirmation of the Plan or final approval of the Disclosure Statement.

        8.      Nevertheless, the Debtor will briefly address each objection. The Lines Objection

 and the Mukes Objection are substantially similar. They assert the following common objections:


                                                 2
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                           a.        The Plan wrongly provides for Amazon’s indemnification claim in

                   article 4.4(a);

                           b.        The Plan provides that it will not pay collective proofs of claim filed

                   by Lines and Mukes, but only allowed claims filed by individuals (see articles 4.6(a)

                   and 4.7(a));

                           c.        The Plan’s proposal for a payout to Classes 6 and 7 as

                   unreasonably long and inequitable (see articles 4.6(b) and 4.7(b)); and

                           d.        The amount of the Lines and Mukes claims as described in the

                   Disclosure Statement is too low.

        9.         All of the common objections have been overruled or mooted by the Court’s recent

 ruling on claims objections. A copy of the transcript from that ruling is attached as Exhibit A and

 copies of the relevant orders are located at docket numbers 261-265.

        10.        As to the objection related to Amazon’s indemnity claim, the Court overruled Lines’

 objection to Amazon’s proof of claim. and specifically overruled the argument that the Debtor does

 not have an obligation to defend Amazon under the indemnity clause in their agreement. Exhibit

 A, Tr. 42:5-12.

        11.        As to the objection that the Plan does not provide for payment of claims for the

 members of a collective action, the Court decided that collective proofs of claim are inappropriate

 in this case and denied the collective proofs of claim filed by Lines and Mukes. Exhibit A, Tr.

 16:8-20:5.

        12.        As to objections related to the length of the payout for allowed claims in Class 6

 and Class 7 of the Plan, since the Court has disallowed all of the claims in Class 6 and Class 7,

 the objection is moot. Exhibit A, Tr. 28:24-32:17 (Lines) and 32:18-34:4 (Mukes).

        13.        Finally, the objection that the Disclosure Statement did not correctly state the

 amount of Lines’ and Mukes’ individual claims has been overruled by the Court’s total

 disallowance of Lines’ and Mukes’ individual claims. Exhibit A, Tr. 28:24-32:17 (Lines) and 32:18-


                                                        3
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 34:4 (Mukes).

           14.    Lines asserted two additional objections particular to his lawsuit against Amazon

 as the Debtor’s co-defendant.1

           15.    Lines objects to article 4.6(c) because it stays further prosecution of the Lines

 Lawsuit as of the Effective Date and provides that the Lines Lawsuit will be dismissed once any

 Allowed Individual Claim held by Lines is paid in full. The Court has disallowed Lines’ individual

 claim in its entirety. Thus, there is no reason for the Lines’ Lawsuit to continue either as to the

 Debtor or as to Amazon.

           16.    Finally, Lines objects to Article 12.5, which provides a temporary injunction in favor

 of Amazon provided that the Debtor is paying Class 6 claims under the Plan. It says:

           TEMPORARY THIRD-PARTY INJUNCTION (AMAZON). AS LONG AS THE
           DEBTOR IS CURRENT ON DISTRIBUTIONS TO CLASS 6 CLAIMS (IF ANY
           ARE ALLOWED) IN ACCORDANCE WITH THIS PLAN, CLASS 6 CLAIMANTS
           WILL TAKE NO ACTION FOR THE COLLECTION OF CLASS 6 CLAIMS
           AGAINST AMAZON.

           17.    As discussed above, all claims in Class 6 have been disallowed. Those are the

 claims filed by Lines individually and on behalf of the purported FLSA collective.

           18.    Lines’ claims against Amazon are derivative of his claims against the Debtor. He

 alleges that the Debtor and Amazon are joint employers and therefore jointly liable for his claim.

 Given the Court’s findings in connection with his claim against the Debtor, Lines can have no

 claim against Amazon.

           19.    Moreover, since the Debtor owes Amazon a duty to defend by virtue of the

 indemnity clauses in its agreement, enjoining action against Amazon is necessary to the Debtor’s

 ability to reorganize.    A continuation by Lines of litigation against Amazon is, in effect, a

 continuation of litigation against the Debtor.

           WHEREFORE, the Debtor requests entry of an order overruling all objections, granting



 1   See, Adversary Proceeding No. 18-4171.


                                                    4
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 final approval for the Disclosure Statement, confirming the Plan, and granting such other and

 further relief as is just and proper.

 Dated: May 23, 2019.                                          Respectfully submitted,

                                                               /s/ Laurie Dahl Rea
                                                               J. Robert Forshey
                                                               State Bar No. 07264200
                                                               Laurie Dahl Rea
                                                               State Bar No. 00796150
                                                               FORSHEY & PROSTOK LLP
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                                                               ATTORNEYS FOR DEBTOR
                                                               AND DEBTOR IN POSSESSION




                                               CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document was served upon
 the parties on the attached service list via United States Mail, first class postage prepaid, or via
 ECF electronic Notice, if available, on May 23, 2019.

                                                               /s/ Laurie Dahl Rea
                                                               Laurie Dahl Rea



 L:\BFORSHEY\Tenet Concepts, LLC (C11) #5927\Pleadings 18-40270-elm11\Combined Response to Plan Objections 5.20.19.docx




                                                                   5
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                            Exhibit A
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                       IN THE UNITED STATES BANKRUPTCY COURT
   1                    FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION
   2
        In Re:                           )     Case No. 18-40270-elm-11
   3                                     )
        TENET CONCEPTS, LLC,             )
   4                                     )     Fort Worth, Texas
                  Debtor.                )     May 15, 2019
   5                                     )     1:30 p.m.
                                         )
   6                                     )     - RULING - OBJECTIONS TO
                                         )       CLAIMS [95, 145, 146, 147,
   7                                     )       175]
                                         )     - RULING - MOTION TO ESTIMATE
   8                                     )       CLAIMS FOR PURPOSES OF
                                         )       CONFIRMATION [185]
   9                                     )     - SECOND MOTION TO EXTEND
                                         )       DEADLINE TO CONFIRM PLAN
  10                                     )       [244]
                                         )     - MOTION FOR AUTHORITY TO
  11                                     )       ENTER INTO INSURANCE PREMIUM
                                         )       FINANCE AGREEMENT [251]
  12                                     )
                                         )        Excerpt: Rulings
  13                                     )
                                         )
  14    LINES, et al.,                   )     Adversary Proceeding 18-4171-elm
                                         )
  15              Plaintiffs,            )     - RULING - DEFENDANT'S MOTION
                                         )       FOR JUDGMENT ON THE
  16    V.                               )       PLEADINGS [13]
                                         )     - RULING - MOTION FOR JOINDER
  17    AMAZON.COM, INC., et al.,        )       OF AMAZON.COM [15]
                                         )
  18              Defendants.            )        Excerpt: Rulings
                                         )
  19
                              TRANSCRIPT OF PROCEEDINGS
  20                   BEFORE THE HONORABLE EDWARD L. MORRIS,
                           UNITED STATES BANKRUPTCY JUDGE.
  21
        APPEARANCES:
  22
        For Tenet Concepts, LLC,         Laurie D. Rea
  23    Debtor:                          J. Robert Forshey (Telephonic)
                                         FORSHEY & PROSTOK, LLP
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                                         Fort Worth, TX 76102
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                                                                                 2


   1    APPEARANCES, cont'd.:
   2    For Jeffrey Lines and            Holt Major Lackey
        Willie Mukes:                    ELLWANGER LAW, LLP
   3    (Telephonic)                     8310-1 N. Capital of Texas
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   5
        For Amazon Logistics, Inc.: Darren Glen Gibson
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   8
        For Tenet Concepts,              Rory Divin
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  18

  19

  20

  21

  22

  23

  24
                 Proceedings recorded by digital sound recording;
  25               transcript produced by transcription service.
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                                                                                3


   1               FORT WORTH, TEXAS - MAY 15, 2019 - 1:44 P.M.

   2         (Transcript excerpt begins at 2:01 p.m.)

   3              THE COURT:     Does anyone else wish to be heard on the

   4    motion for authority to enter into insurance premium

   5    financing agreement?       All right.     Well, Ms. Rea, based upon

   6    the testimony that's been provided and the circumstances,

   7    while not ideal, clearly, to have to ask for retroactive

   8    relief, given the particular circumstances here, it's

   9    certainly the best of all options that were available.                 So I

  10    will approve the motion, including the retroactive relief, in

  11    relation to the financing agreement.

  12              MS. REA:     Okay.   Thank you.      And I'll just upload

  13    that order, --

  14              THE COURT:     All right.      Very good.

  15              MS. REA:     -- if that's all right.         Okay.

  16              THE COURT:     All right.      All right.     That takes us to

  17    -- we have a number of matters on the schedule.                Let me start

  18    by telling you all what I'm not in a position to do today.                    I

  19    got a little bit ambitious and sort of ran out of time.                 And

  20    that is that I am not in a position today to provide a ruling

  21    with respect to the motion that is pending in the Lines v.

  22    Amazon adversary proceeding, which is at Adversary No. 18-

  23    4171.   We had the motion for judgment on pleadings that had

  24    been filed by Amazon.com, Inc. and the Debtor's effectively

  25    adopted motion in relation thereto.           And I just, I will try
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                                                                                 4


    1   to get that onto a follow-up schedule as promptly as

    2   possible, but just couldn't -- we just couldn't get there.

    3         So, and with respect to the main case, Tenet Concepts,

    4   Case No. 18-40270, which I'll refer to as the Bankruptcy

    5   Case, before the Court in the Bankruptcy Case are the

    6   following claims and Claims Objections.             First, Proof of

    7   Claim No. 10 filed in the Bankruptcy Case in the name of

    8   Jeffrey Lines, who I may sometimes refer to simply as Lines.

    9   And that was in his individual capacity to assert a claim

   10   against Tenet Concepts, LLC, the Debtor, or Tenet, in the

   11   amount of $161,717.50, subsequently reduced to $77,561.18

   12   pursuant to a response filed by Lines, which I'll refer to as

   13   the Lines Individual Claim, and in relation thereto, the

   14   objection filed by the Debtor at Docket No. 95 in the

   15   Bankruptcy Case, which I'll refer to as the Lines Individual

   16   Claim Objection.

   17         Second, Proof of Claim No. 11 filed in the Bankruptcy

   18   Case in the name of Jeffrey Lines and Similarly-Situated

   19   Amazon Prime Now Delivery Drivers, to assert a claim against

   20   the Debtor in the amount of $2 million to $20 million, which

   21   I'll refer to as the Lines Collective Claim, and in relation

   22   thereto, the objection filed by the Debtor at Docket No. 146

   23   in the Bankruptcy Case, which I'll refer to as the Lines

   24   Collective Claim Objection.

   25         Third, Proof of Claim No. 12 filed in the Bankruptcy Case
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                                                                                 5


    1   in the name of Willie J. Mukes, or Mukes, for short, in his

    2   individual capacity, and, as discovered in a response

    3   subsequently filed by Mukes, purportedly also on behalf of

    4   nine employees who filed opt-in written consents in the

    5   prepetition litigation he commenced against the Debtor, to

    6   assert a claim against the Debtor in the amount of $21,200,

    7   which I'll refer to as the Mukes Individual Claim, and in

    8   relation thereto, the objection filed by the Debtor at Docket

    9   No. 147 in the Bankruptcy Case, which I'll refer to as the

   10   Mukes Individual Claim Objection.

   11         Fourth, Proof of Claim No. 13 filed in the Bankruptcy

   12   Case in the name of Willie J. Mukes and All Other Tenet

   13   Concepts, LLC Former and Current Employees Similarly

   14   Situated, in this case, to assert a claim against the Debtor

   15   in the amount of $2 million, which I'll refer to as the Mukes

   16   Collective Claim, and in relation thereto, the objection

   17   filed by the Debtor at Docket No. 145 in the Bankruptcy Case,

   18   which I'll refer to as the Mukes Collective Claim Objection.

   19         And fifth, Proof of Claim No. 8 filed in the Bankruptcy

   20   Case in the name of Amazon Logistics, Inc., or Amazon

   21   Logistics, in short, to assert a claim against the Debtor in

   22   the amount of $44,992.83 plus such other currently

   23   unliquidated and/or contingent amounts that may become due

   24   and owing to Amazon Logistics under the indemnification

   25   provisions of the work order and terms of service, as such
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                                                                                 6


    1   terms are defined in the proof of claim, which I'll refer to

    2   as the Amazon Claim, and in relation thereto, the objection

    3   filed by Jeffrey Lines for himself and for similarly-situated

    4   Amazon Prime Now delivery drivers at Docket No. 175 in the

    5   Bankruptcy Case, which I'll refer to as the Amazon Claim

    6   Objection.

    7         In relation to these matters, I will sometimes refer to

    8   the Lines Claim -- I'm sorry, the Lines Collective Claim and

    9   the Mukes Collective Claim together as the Collective Claims,

   10   and the respective objections thereto as the Collective

   11   Claims Objections.       And I will sometimes refer to the Lines

   12   Individual Claim Objection, the Lines Collective Claim

   13   Objection, the Mukes Individual Claim Objection, the Mukes

   14   Collective Claim Objection, and the Amazon Claim Objection as

   15   the Claims Objections, collectively.

   16         Also pending in the Bankruptcy Case at Docket No. 185 is

   17   the Debtor's Motion to Estimate Claims (Proofs of Claim 10,

   18   11, 12, and 13) for Purposes of Confirmation, as supplemented

   19   by Docket No. 196, which, as so supplemented, I will refer to

   20   as the Claims Estimation Motion.

   21         Focusing on these Bankruptcy Case matters, the Court

   22   conducted a trial on such matters on February 21st and 26th

   23   of this year.      Now having reviewed and considered the Claims

   24   at issue, the Claims Objections, and the Claims Estimation

   25   Motion, along with the parties' respective responses,
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                                                                                 7


    1   replies, supplemental filings, and pre- and post-trial

    2   briefing filed at Docket Nos. 167, 168, 169, 170, 190, 192,

    3   201, 203, 206, 227, 229, 235, and 236, and having also

    4   considered the evidence and the arguments and representations

    5   of counsel presented at trial, the Court issues the following

    6   findings of fact and conclusions of law.

    7          First, jurisdiction.      The Court has jurisdiction of the

    8   proceedings involving the Claims Objections and the Claims

    9   Estimation Motion pursuant to 28 U.S.C. Sections 1334 and

   10   157.    Venue of such proceedings in this district is proper

   11   pursuant to 28 U.S.C. Section 1409.            The proceedings

   12   constitute core proceedings within the meaning of 28 U.S.C.

   13   Section 157(b)(2)(A), (B), and (O).            And pursuant to 28

   14   U.S.C. Section 157(b)(1) and consistent with the U.S. Supreme

   15   Court's opinion in Stern v. Marshall and its progeny, the

   16   Court has the statutory and constitutional authority to issue

   17   final orders on the Claims Objections and the Claims

   18   Estimation Motion.

   19          Second, a brief overview.        In discussing the Claims and

   20   the Claims Objections, I'm going to break them down into the

   21   following four categories.           The Collective Claims and

   22   Collective Claims Objections, first.            Second, the Lines

   23   Individual Claim and the Lines Individual Claim Objection.

   24   Third, the Mukes Individual Claim and Mukes Individual Claim

   25   Objection.     And fourth, the Amazon Claim and Amazon Claim
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                                                                                 8


    1   Objection.

    2         With respect to the first three categories of claims and

    3   claims disputes, in each case the claims have been asserted

    4   against the Debtor for unpaid compensation and other amounts

    5   alleged to be recoverable under the Fair Labor Standards Act

    6   of 1938, as amended, which is codified at Title 29 of the

    7   United States Code, starting at Section 201, which I may

    8   sometimes simply refer to as the FLSA.

    9         Pursuant to the FLSA, certain protections and rights are

   10   afforded to covered nonexempt workers who are in the employ

   11   of an employer subject to the FLSA.            In this case, it is

   12   undisputed by the parties that the Debtor is an employer

   13   subject to the FLSA and that Mr. Lines and Mr. Mukes, and

   14   correspondingly, anyone else who might be a party to a

   15   collective action initiated by either of them, are covered

   16   nonexempt workers for purposes of the FLSA.

   17         The two key protections afforded to covered nonexempt

   18   employees under the FLSA are the right to receive a minimum

   19   wage and the right to receive overtime for hours worked in

   20   excess of 40 hours during a given workweek.              More

   21   specifically, in relation to this case, pursuant to Section

   22   206(a)(1)(C) of the FLSA, employees were required to be paid

   23   at least the minimum wage of $7.25 per hour.              And pursuant to

   24   Section 207(a) of the FLSA, employees were required to be

   25   paid at a rate of not less than one and a half times the
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                                                                                 9


    1   regular rate at which such employee was employed for those

    2   hours during the workweek worked in excess of 40 hours.

    3         In addition to these protections, and while somewhat

    4   awkwardly included within the definitions section of the

    5   FLSA, Section 203(m)(2)(B) of the FLSA specifies that an

    6   employer may not keep any of the tips received by an employee

    7   for any purpose, regardless of whether or not the employer

    8   takes a tip credit in relation to determining whether the

    9   employee has received the required minimum wage.

   10         Adding teeth to these provisions, Section 216(b) of the

   11   FLSA provides that an employer who violates the provisions of

   12   Section 206, which is the minimum wage provision we just

   13   talked about, or Section 207, which is the overtime provision

   14   we just talked about, shall be liable to the employee

   15   affected in the amount of the employee's unpaid minimum wages

   16   or unpaid overtime compensation, as the case may be, and then

   17   an additional equal amount as liquidated damages -- in the

   18   case of liquidated damages, subject to a possible exception

   19   which I'll note in a minute.          The provision goes on to say

   20   that an employer who violates Section 203(m)(2)(B), which is

   21   the tip provision that we just talked about, shall be liable

   22   to the affected employee in the amount of the sum of all such

   23   tips unlawfully kept by the employer and any tip credit taken

   24   by the employer, and in an additional equal amount as

   25   liquidated damages, again, subject to a possible exception.
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                                                                                 10


    1         Finally, Section 216(b) also provides for the award of

    2   reasonable attorney's fees and costs of the action to a

    3   prevailing plaintiff.

    4         Turning to the possible exception in relation to

    5   liquidated damages, Section 260 of the FLSA provides that if

    6   the employer shows to the satisfaction of the Court that the

    7   act or omission giving rise to an action to recover unpaid

    8   minimum wages, unpaid overtime compensation, or liquidated

    9   damages, was in good faith and that the employer had

   10   reasonable grounds for believing that its act or omission was

   11   not a violation of the FLSA, the Court may, in its sound

   12   discretion, award no liquidated damages, or award a lesser

   13   amount than would otherwise be provided for in Section 216.

   14         Next, before turning to each of the individual categories

   15   of claims, it's also helpful to begin with a brief, somewhat

   16   truncated chronology of common relevant facts.               Tenet was

   17   formed in late January 2015.          It's headquartered in Austin,

   18   Texas.    Its initial member was a broker for delivery services

   19   that decided to effectively get into the delivery service

   20   business through Tenet.

   21         Tenet entered into a work order agreement with Amazon

   22   Logistics, Inc. effective March 1, 2015.             That's at Debtor's

   23   Exhibit 63, along with the work order, and pursuant to the

   24   terms of the work order is -- there are related terms of

   25   service, which are also included within Debtor's Exhibit 63
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                                                                                 11


    1   and are part and parcel of that agreement.

    2         As contemplated by the work order and terms of service,

    3   the Debtor was to provide delivery services in connection

    4   with the delivery of Amazon products to customers.                Of

    5   relevance here, the orders would be placed to Amazon directly

    6   and then Amazon would then coordinate with the Debtor to

    7   provide for those goods to then be delivered to customers.

    8         For purposes of obtaining a delivery crew, essentially,

    9   to provide those delivery services, the Debtor employed

   10   drivers.     And of importance for purposes of determining

   11   overtime, the Debtor's workweek commenced on each Sunday and

   12   extended through and including the next following Saturday.

   13         In or around early October 2015, Mr. Lines was hired by

   14   -- a driver for the Debtor to work out of the Debtor's

   15   Dallas/Irving, Texas location.          In relation to that location

   16   -- I may come back to this later -- the location was

   17   essentially an Amazon warehouse that had a designated sort of

   18   isolated bullpen area.        Not isolated, but the employees of

   19   the Debtor were effectively fenced into a bullpen area and

   20   did not have free access within the warehouse.               So, in other

   21   words, they could not roam around where the merchandise was

   22   actually located.       They would have to pick up the merchandise

   23   at, essentially, a delivery window, and then would go from

   24   there to make the deliveries.          This is -- I'm using this in

   25   reference to the Dallas/Irving location.
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                                                                                  12


    1         In the case of Dallas, the delivery drivers would

    2   typically use their own vehicles to provide the delivery

    3   services.     The Debtor also had locations in, among other

    4   places, Austin and Houston, and for purposes of this

    5   proceeding -- I shouldn't say Austin.            I'm not sure about

    6   that.    But certainly with respect to Houston.            And in the

    7   case of Houston, the delivery services were sometimes

    8   provided by a personal vehicle but mostly by Debtor's

    9   vehicles or at least debtor-supplied vehicles that would be

   10   picked up at a D&M Leasing location within virtually two to

   11   three minutes of the location of the Amazon warehouse where

   12   they would pick up the merchandise.

   13         Kind of going through chronologically some key dates, in

   14   Dallas, the Prime Now delivery service, which was what was

   15   being provided by the Debtor for Amazon, was terminated by

   16   Amazon effective February 16, 2016 as a result of Amazon's

   17   decision to move away from that type of service.                 As a

   18   result, the Debtor laid off all remaining driver employees at

   19   that point in time.

   20         In the summer of 2016, Mr. Mukes was hired.                Later, on

   21   February 2, 2017, Mr. Lines commenced the litigation against

   22   the Debtor and Amazon.com, Inc. in the Western District --

   23   the Federal Western District of Texas court.              On March 3,

   24   2017, Mr. Mukes commenced the litigation against the Debtor

   25   in the Federal Court for the Southern District of Texas.                   In
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                                                                                  13


    1   each case, those cases were initiated as collective actions

    2   under the terms of the FLSA.

    3         On April 1, 2017, Mr. Mukes filed a written opt-in

    4   consent in the -- oh, let me back up.            The litigation

    5   commenced by Lines, I'll simply refer to as the Lines

    6   Litigation, and the litigation that was commenced by Mr.

    7   Mukes, I'll simply refer to as the Mukes Litigation.                 In

    8   reference to the Mukes Litigation, on April 1, 2017, Mr.

    9   Mukes filed an opt-in consent to his being a party plaintiff

   10   to that case.      On June 23, 2017, Valerie Miller filed a

   11   written opt-in consent in the same action.              And then on July

   12   19, 2017, eight additional individuals filed written opt-in

   13   consents to join that litigation.           And those individual

   14   consents were submitted as exhibits, submitted into evidence

   15   as exhibits.     I believe it is Debtor's Exhibit 2 or 3.

   16         On January 25, 2018, the Debtor filed its voluntary

   17   petition for relief under Chapter 11 of the U.S. Bankruptcy

   18   Code, initiating the Bankruptcy Case.            Prior to the

   19   initiation of the Bankruptcy Case and as a result of the

   20   institution of the automatic stay, no written opt-in consents

   21   had been filed in the Lines Litigation.             And no other written

   22   opt-in consents had been filed in the Mukes Litigation other

   23   than as I had indicated.        And for simplicity purposes, I'll

   24   refer to the nine individuals other than Mr. Mukes who filed

   25   written opt-in consents in the Mukes Litigation as simply the
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                                                                                 14


    1   Nine Mukes Litigation Opt-Ins.

    2         In connection with the bankruptcy filing, a court-

    3   instituted deadline for the filing of nongovernmental proofs

    4   of claim in the Bankruptcy Case was established as June 7,

    5   2018.    In relation to that deadline, the Debtor -- and I

    6   believe that the bar date notice, well, what I'll refer to as

    7   the court-issued notice of the Chapter 11 Bankruptcy Case,

    8   which set out that deadline that I'll refer to as the Bar

    9   Date Notice, was filed in the Bankruptcy Case at Docket No.

   10   12, of which the Court takes judicial notice.

   11         As evidenced by Debtor's Exhibit 3, on February 28, 2018,

   12   the Bar Date Notice was served on, among others, current and

   13   former employees of the Debtor.           By the time of the bar date

   14   in this case of June 7, 2018, each of the claims at issue

   15   pursuant to this ruling were -- had been timely filed in the

   16   Bankruptcy Case.

   17         All right.    Turning to the Collective Claims and the

   18   Collective Claims Objections, the Debtor's primary objection

   19   to each of the Collective Claims is procedural in nature --

   20   namely, that each of the Collective Claims is an improper

   21   "class claim" for which the respective putative class

   22   representative -- namely, Lines in the case of the Lines

   23   Collective Claim and Mukes in the case of the Mukes

   24   Collective Claim -- did not have authority to file.

   25         In support of the objections, the Debtor argues that (a)
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                                                                                 15


    1   Bankruptcy Rule 3001(b) requires a proof of claim to be

    2   executed by the actual creditor or the creditor's authorized

    3   agent; and (b) neither Lines nor Mukes is an authorized agent

    4   for any of the putative class members, given that, one,

    5   neither Lines nor Mukes obtained class certification, even on

    6   a conditional basis, in their respective litigation cases

    7   prior to the bar date.        Two, outside of Mukes and the Nine

    8   Mukes Litigation Opt-Ins in relation to the Mukes Litigation,

    9   no employee filed a written opt-in consent to join either the

   10   Lines litigation or the Mukes litigation prior to the bar

   11   date.    And three, neither Lines nor Mukes obtained

   12   authorization to file a class claim on behalf of the putative

   13   class prior to the bar date.

   14         The Debtor further argues that each of the potential

   15   class members received separate notice of the bar date and

   16   had the opportunity to and should have participated in the

   17   bankruptcy process by filing his or her own proof of claim if

   18   such a potential class member had a claim against the Debtor.

   19         Lines and Mukes, on the other hand, argue that the type

   20   of notice provided to potential class members in an FLSA

   21   collective action is more informative and meaningful and that

   22   the Bar Date Notice in the Bankruptcy Case was insufficient

   23   to give potential class members an opportunity to assert a

   24   claim.    And they further argue that the class claims had been

   25   -- they further argue that class claims have been permitted
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                                                                                 16


    1   in bankruptcy cases in the past and they should similarly be

    2   permitted here under the same type of protocol utilized in

    3   relation to Rule 23 class action certifications, which the

    4   Federal Rules of Bankruptcy Procedure contemplate as being

    5   made applicable to contested proceedings pursuant to

    6   Bankruptcy Rules 9014 and 7023, that those same protocol be

    7   used here.

    8         The Court agrees with the Debtor's position on this and

    9   will disallow the Collective Claims as procedurally and

   10   substantively unauthorized.

   11         First, that the claims are unauthorized to the extent not

   12   duplicative.     In the case of Mukes and the Nine Mukes Opt-

   13   Ins, Litigation Opt-Ins, the claims are duplicative of the

   14   Mukes Individual Claim.        In other words, to the extent

   15   there's any suggestion that by Mukes and the Nine Mukes

   16   Litigation Opt-Ins having filed their written consents prior

   17   to the bar date effectively giving some rights in Mr. Mukes

   18   to be able to assert their claims, he is already recognized

   19   in reference to his individual claim that he was filing

   20   claims on behalf of each of those Nine Mukes Litigation Opt-

   21   Ins, and therefore the Collective Claim is duplicative of his

   22   Individual Claim in any event.

   23         In the case of Lines, solely with respect to Mr. Lines,

   24   the Collective Claim is duplicative of the Lines Individual

   25   Claim.    Again, sort of similar but different reasoning in the
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                                                                                 17


    1   sense that Mr. Lines has separately filed his own proof of

    2   claim and therefore, to the extent that the Collective Claim

    3   incorporates his own claim, it's duplicative of his

    4   Individual Claim.

    5         In all other respects, the Collective Claims were not

    6   authorized -- or, Lines and Mukes were not authorized to file

    7   the Collective Claims on behalf of any other potential class

    8   members.

    9         The Court notes that, unlike a class action under Rule 23

   10   where putative class members are automatically in unless they

   11   opt out, the putative class members of a collective action

   12   under Section 216(b) of the FLSA must affirmatively opt in

   13   with a written consent filed in the collective action

   14   litigation in order to be considered part of the collective

   15   class.

   16         The distinction between these two very different types of

   17   proceedings is noted by the Fifth Circuit in the case of

   18   LaChapelle v. Owens-Illinois, Inc., which is at 513 F.2d 286,

   19   a 1975 case, and has also been noted in the local case of

   20   Songer v. Dillon Resources, Inc., which is at 569 F. Supp.2d

   21   703, a Northern District of Texas case, 2008.

   22         Second, the Court is not persuaded by the differences in

   23   noticing.     Just as there are legitimate FLSA objectives at

   24   stake in relation to FLSA class notifications, there are also

   25   legitimate bankruptcy objectives in relation to bar date
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                                                                                 18


    1   notices.     In fact, where an FLSA collective claim notice is,

    2   by its nature, limited to the nature of the types of claims

    3   applicable to the putative class, a bankruptcy bar date

    4   notice is unlimited in scope and enables a potential claimant

    5   to assert any claim that he or she believes she has against

    6   the debtor, irrespective of its nature or scope and

    7   irrespective of whether it is currently unliquidated and/or

    8   contingent in nature.

    9         Here, all putative class members have had an opportunity

   10   to participate in the bankruptcy by timely filing a proof of

   11   claim.    And to the extent that they did not avail themselves

   12   of that opportunity, it is not now appropriate to provide a

   13   do-over via a yet-to-be-recognized collective FLSA class

   14   mechanism.

   15         Third, moreover, any request for class certification at

   16   this stage of the proceedings is untimely.              Keying off of

   17   Rule 23 and the ability to make Rule 23 class processes

   18   applicable to contested proceedings pursuant to Bankruptcy

   19   Rule 9014, in Teta v. Chow (In re TWL Corp.), which is at 712

   20   F.3d 886, a Fifth Circuit 2013 case, the Fifth Circuit

   21   adopted the following factors for consideration by a court in

   22   determining whether to make Rule 23 applicable to a contested

   23   proceeding.     And this is before any consideration of whether

   24   to actually certify a class pursuant to Rule 23.

   25         First, whether the class was certified prepetition.
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                                                                                 19


    1   Second, whether the members of the putative class received

    2   notice of the bar date.        And third, whether class

    3   certification would adversely affect the administration of

    4   the case, especially if the proposed litigation would cause

    5   undue delay.     And the Court also stated that it is

    6   appropriate to consider the benefits and costs of class

    7   certification to the estate.

    8         Each of these factors weighs against opening the claims

    9   process to a potential class proceeding, whether under Rule

   10   23 or otherwise by analog.

   11         First, no class was certified, even conditionally,

   12   prepetition.

   13         Second, members of the putative class received notice of

   14   the bar date in this case, thereby providing them an

   15   opportunity to participate in the bankruptcy by timely filing

   16   a proof of claim.

   17         Third, class certification at this late stage in the

   18   proceedings will adversely affect administration of the

   19   estate.    This is a small business debtor case, which carries

   20   with it certain more-stringent deadlines.             In particular,

   21   specific plan confirmation deadlines are imposed pursuant to

   22   Sections 1121(e) and 1129(e) of the Bankruptcy Code.

   23         Given the aging of this case and such time limitations,

   24   an opening-up of the claims process to a whole new potential

   25   class certification and notice process is a nonstarter.
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                                                                                  20


    1   Moreover, such a process would not only provide virtually no

    2   benefit to the estate, it would result in substantial

    3   additional costs to the estate.

    4         For all these reasons, the collective claims are

    5   procedurally and substantively infirm and must be disallowed.

    6         I'll also point to the case of In re Vanguard Natural

    7   Resources, LLC at 2017 WL 5573967.            It's a well-written Judge

    8   Isgur opinion out of the Bankruptcy Court for the Southern

    9   District of Texas issued on November 20, 2017.

   10         Turning to the Lines Individual Claim, let me start with

   11   a recap of amounts asserted pursuant to that claim.                 The

   12   Lines proof of claim is, frankly, bereft of detail, only

   13   asserting that the claim is for damages allowable under the

   14   FLSA.    However, in Lines' response to the Debtor's claim

   15   objection, he provides greater clarity, asserting that the

   16   Debtor violated the FLSA by failing to pay him for "off the

   17   clock" work of $638.90, unreimbursed expenses of $6,500.88,

   18   overtime of $105.13, and undistributed tips of $4,163.77.

   19   And based upon the foregoing, he also asserts that he should

   20   recover an additional aggregate sum of such amounts totaling

   21   $11,408.68 as liquidated damages, plus attorney's fees of

   22   $20,175.

   23         Additionally, Lines asserts that following his complaints

   24   to the Debtor about the Debtor's failure to properly

   25   compensate him and others, he was constructively fired, in
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                                                                                 21


    1   violation of Section 218(c) of the FLSA, entitling him to

    2   compensation of $34,161 in lost wages.

    3         In the case of the "off the clock" work, the focus is on

    4   three categories of allegedly uncompensated time:                (a) the

    5   roughly 15 minutes or thereabouts of time spent prior to

    6   formally clocking in spent on organizing Amazon bags and

    7   generally cleaning up around the bullpen area; (b) the 30-

    8   minute lunch break time which Lines asserts was not honored

    9   by the Debtor; and (c) the roughly upwards of 30 minutes at

   10   the end of a shift after clocking out spent on organizing

   11   Amazon bags and generally cleaning up around the bullpen

   12   area.

   13         The argument here is that the failure to pay impacts both

   14   the minimum wage obligation and also, as applicable, overtime

   15   calculations.

   16         In the case of unreimbursed expenses, the gist of Lines'

   17   argument is that he was not properly and/or adequately

   18   reimbursed for mileage, gas, and tolls in using his car for

   19   deliveries, which also has the effect, when deducted from the

   20   compensation paid, of reducing the compensation level below

   21   minimum wage.

   22         Overtime and undistributed tips are obvious by their

   23   nature.

   24         And in the case of the retaliatory discharge claim,

   25   Section 218c(a) of the FLSA provides that no employer shall
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                                                                                 22


    1   discharge or in any manner discriminate against any employee

    2   with respect to his or her compensation, terms, conditions,

    3   or other privileges of employment because the employee has

    4   taken one or more of the following actions, which are

    5   generally referred to as protected activities:               (1) received

    6   a credit under Section 36B of Title 26 or a subsidy under

    7   Section 18071 of Title 42; (2) provided, caused to be

    8   provided, or is about to provide or cause to be provided to

    9   the employer, the federal government, or the attorney general

   10   of a state information relating to any violation of or any

   11   act or omission the employee reasonably believes to be a

   12   violation of any provision of the FLSA; (3) testified or is

   13   about to testify in a proceeding concerning such an FLSA

   14   violation; (4) assisted or participated or is about to assist

   15   or participate in such a proceeding; or (5) objected to or

   16   refused to participate in any activity, policy, practice, or

   17   assigned task that the employee reasonably believed to be in

   18   violation of any provision of the FLSA, or any order, rule,

   19   regulation, standard, or ban under the FLSA.

   20         At issue in this case is Category 2, providing to the

   21   employer information about any violation of or any act or

   22   omission the employer reasonably believes to be a violation

   23   of any provision of the FLSA.

   24         In considering a retaliatory discharge claim under the

   25   FLSA, the Fifth Circuit, in Hagan v. Echostar Satellite, LLC,
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                                                                                 23


    1   which is at 529 F.3d 617, a 2008 opinion, has opined that the

    2   standards and shifting burden of proof are essentially

    3   identical to the standards -- I'm sorry, in an FLSA

    4   retaliatory discharge claim are essentially identical to the

    5   standards and shifting burden of proof applied from the

    6   Supreme Court's McDonnell Douglas case to discrimination

    7   claims under Title VII.

    8         Specifically, the plaintiff must first make a prima facie

    9   showing of, one, participation in protected activity under

   10   the FLSA.     Two, an adverse employment action.           And three, a

   11   causal link between the activity and the adverse action.

   12         Second, if the plaintiff meets such burden, then the

   13   burden shifts to the defendant to articulate a legitimate,

   14   nondiscriminatory reason for the adverse action.

   15         And third, if the defendant meets such burden, then the

   16   burden shifts back to the plaintiff to have to demonstrate

   17   that the proffered reason by the defendant is a pretext for

   18   discrimination.

   19         In this context, a few additional points are worth note.

   20   First, within the Fifth Circuit, an "adverse action" for

   21   purposes of this analysis requires proof of an "ultimate

   22   employment decision" by the employer.            For example, rude

   23   treatment, criticism of work and conduct, and even threats of

   24   potential dismissal, verbal reprimands, or low evaluations

   25   will not, at least in isolation, constitute an ultimate
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                                                                                 24


    1   employment decision.       For that proposition, see Connor v.

    2   Celanese, Ltd. at 428 F. Supp.2d 628.            It's a 2006 Southern

    3   District of Texas opinion.

    4         That said, constructive discharge can constitute an

    5   ultimate employment decision, but the bar is high.                As

    6   further explained in Connor, citing the Fifth Circuit's case

    7   of Barrow, which is at 10 F.3d 292, a 1994 Fifth Circuit

    8   opinion, to show constructive discharge an employee must

    9   offer evidence that the employer made the employee's working

   10   conditions so intolerable that a reasonable employee would

   11   feel compelled to resign.        And in evaluating whether such a

   12   feeling is reasonable, the following factors are relevant.

   13   Or the following facts might have relevance.              One, whether

   14   there was demotion.       Two, whether there was a reduction in

   15   salary.    Three, whether there was a reduction in job

   16   responsibilities.       Four, whether there was a reassignment to

   17   menial or degrading work.        Five, whether there was a

   18   reassignment to work under a younger supervisor.                 Six,

   19   whether there was badgering, harassment, or humiliation by

   20   the employer calculated to encourage the resignation.                   Or

   21   seven, whether there was offers of early retirement or

   22   continued employment on terms less favorable than the

   23   employee's former status.

   24         On this, see also Tyler v. Union Oil Co. of California at

   25   304 F.3d 379, a Fifth Circuit 2002 opinion which is in the
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                                                                                 25


    1   context of an ADEA case, but also relevant.

    2         Turning to the Debtor's claim objection, the Debtor

    3   asserts that the claim is disallowable in full pursuant to

    4   Section 502(b)(1) of the Bankruptcy Code that provides for

    5   the disallowance of a claim to the extent that the claim is

    6   unenforceable against the debtor and property of the debtor

    7   under any agreement or applicable law for a reason other than

    8   because such claim is contingent or unmatured.

    9         More specifically, the Debtor asserts that there's no

   10   factual basis for any of the alleged categories of

   11   uncompensated time; that the Debtor had a fixed lunch break

   12   policy that was both published to employees and of which

   13   employees were reminded in memos and stand-up presentations

   14   would be deducted from their compensation; that the Debtor

   15   had a fixed expense reimbursement policy that sufficiently

   16   approximated and reimbursed, if not exceeded, any expenses

   17   actually incurred -- namely, the addition of $3.25 per hour,

   18   and $4.88 per hour in the case of overtime, to cover

   19   reasonable expenses; and that all tips paid by customers were

   20   passed through to the employees without exception.

   21         Consequently, the Debtor further asserts that there's no

   22   basis for any award of liquidated damages or attorney's fees,

   23   and further argues that even if there were any compensable

   24   amounts determined to be owing, that liquidated damages

   25   should not be awarded on account of the Debtor's good faith
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                                                                                 26


    1   belief that it was operating in compliance with the FLSA

    2   based upon the Department of Labor FLSA audit findings

    3   delivered in May 2015.

    4         The Debtor further challenges the claim, or at least the

    5   vast majority of the claim, on the basis of limitations.                  In

    6   this regard, pursuant to Section 255(a) of the FLSA, the

    7   limitations period applicable to a claim under the FLSA is

    8   two years after the cause of action accrues, except that in

    9   the case of a cause of action arising out of willful

   10   violation, the limitations period is three years after the

   11   cause of action accrues.

   12         Here, the Debtor asserts that there's no basis for

   13   application of the three-year limitations period because

   14   there was no willful violation -- again, highlighting the

   15   Department of Labor audit.           For purposes of the three-year

   16   limitation standard, however, for such extended period to

   17   apply, the employee must show that the employer either knew

   18   or showed reckless disregard for the matter of whether its

   19   conduct was prohibited by statute.           And that comes from

   20   McLaughlin v. Richland Shoe Co., 486 U.S. 128, a 1988 Supreme

   21   Court opinion.

   22         For purposes of determining the date of accrual of a

   23   cause of action, the Fifth Circuit has explained in Halferty

   24   v. Pulse Drug Co., Inc. at 821 F.2d 261, a 1987 Fifth Circuit

   25   case, as modified on other grounds by 826 F.2d 2, also a 1987
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                                                                                 27


    1   opinion, that a cause of action accrues at each regular

    2   payday immediately following the work period during which the

    3   services were rendered for which the wage or overtime

    4   compensation is claimed.

    5         With this in mind, Section 256 of the FLSA also details

    6   when an action is deemed commenced for purposes of the FLSA

    7   -- i.e., for purposes of determining whether the action has

    8   been commenced prior to the running of the applicable

    9   limitations period.       It provides that an action is deemed

   10   commenced for purposes of the limitations provisions of

   11   Section 255 when the complaint is filed, except in the case

   12   of a collective action under the FLSA it shall be considered

   13   to be commenced in the case of any individual claimant in

   14   such a collective action (a) on the date when the complaint

   15   is filed, if he or she is specifically named as a party

   16   plaintiff in the complaint and has written consent to become

   17   a party -- and a written consent to become a party plaintiff

   18   is filed on such date in the court in which the action is

   19   brought; or (b) if such written consent is not so filed or

   20   his name did not so appear as a party plaintiff, then on the

   21   subsequent date on which such written consent is filed in the

   22   court in which the action was commenced.

   23         Thus, in a collective action, while the provisions of

   24   Section 256 may seem counterintuitive and perhaps even

   25   draconian or unfair, the actual named plaintiff is not even
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                                                                                 28


    1   deemed to have commenced the action for purposes of the FLSA

    2   until he or she files an actual written consent to be a named

    3   plaintiff in the action.        On this, see also Espinosa v.

    4   Stevens Tanker Division, LLC, 2017 WL 6021861, a Western

    5   District of Texas opinion, December 5, 2017.

    6         Thus, because Lines did not file a written consent in the

    7   Lines Litigation at any time prior to the bankruptcy filing,

    8   the Debtor asserts that all claims for unpaid compensation,

    9   other than a claim for unpaid tips in relation to his last

   10   paycheck, are barred by the two-year limitations period.

   11         Finally, in relation to the retaliatory discharge claim,

   12   the Debtor asserts that Lines tendered his resignation

   13   effective January 2, 2016 via a text to his supervisor, Steve

   14   Hoeppner, at the company, and that when Mr. Hoeppner passed

   15   that along to his superiors, the company then took action

   16   based upon the text.

   17         But even if the Debtor were found to have wrongfully

   18   discharged Lines, the Debtor further asserts that no amounts

   19   are compensable for the period after February 16, 2016

   20   because it was on that date that all remaining Dallas drivers

   21   were laid off on account of Amazon's decision to terminate

   22   its delivery services through the Debtor.

   23         With those thoughts in mind, and for the following

   24   reasons, the Court will sustain the Debtor's objection.

   25   First, at a high level, the Court finds that Lines has failed
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                                                                                  29


    1   to meet his burden of proof on establishing the validity of

    2   the unpaid compensation claims.

    3         Let me start with the "off the clock" work.                First, I did

    4   not find credible any indication that the Debtor actually

    5   required Lines to sort bags or clean up in advance of or

    6   following his shifts.        I think, frankly, that initially Lines

    7   wanted to be seen as a team player, and that he only decided

    8   to complain about the time once his relationship with the

    9   company began to sour once he felt as though his complaints

   10   weren't being paid attention to or addressed.

   11         Even so, the sorting of bags and cleaning up was not an

   12   integral and indispensable part of his principal activity of

   13   serving as a delivery driver for the Debtor, and therefore

   14   such preliminary and post-liminary activities are

   15   noncompensable under the provisions of Section 254(a)(2) of

   16   the FLSA and the case of Integrity Staffing Solutions, Inc.

   17   v. Busk, which is at 135 S. Ct. 513, a 2014 opinion.

   18         Second, with respect to lunch breaks, the Debtor clearly

   19   and unambiguously articulated a policy of requiring a 30-

   20   minute meal break during the course of a full-day shift, and

   21   clearly and unambiguously communicated to employees that the

   22   30-minute period would be uncompensable.             While there is no

   23   doubt that the pressure associated with making any particular

   24   delivery within the Prime Now two-hour time delivery period

   25   and with making a fixed number of deliveries during a shift
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    1   was daunting, there is no indication that Lines was truly

    2   denied the opportunity to take such a break, even though he

    3   may have felt the pressure of the time crunch.

    4         What is clear is that dispatchers were expressly tasked

    5   with the job of trying to assist the drivers in earmarking a

    6   30-minute break between deliveries, and there is insufficient

    7   evidence to believe that the same did not occur.                 And in the

    8   case of any lunch break that was not taken by Mr. Lines, that

    9   was a decision unilaterally made by him as to how he so

   10   desired to use his time and is not properly allocable to the

   11   company, in violation of the company's expressly-articulated

   12   policy.

   13         Turning to unreimbursed expenses, the Debtor sufficiently

   14   established a reasonable basis for the methodology that it

   15   developed for compensating employees for car and gas and toll

   16   expenses.     And, frankly, insufficient evidence was presented

   17   to establish that Lines was compensated at a level below

   18   minimum wage on account of unreimbursed expenses after

   19   payment of the hourly expense reimbursement.

   20         Third, overtime.      The overtime dispute simply appears to

   21   be an unfortunate misunderstanding as to how time would be

   22   allocated and paid for whenever a workweek straddled two

   23   different pay periods.        In the end, the evidence sufficiently

   24   supports that Lines was properly paid for the overtime he

   25   accrued.
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    1         Tips.   As for tips, Lines failed to meet his burden of

    2   proving that he did not actually receive all tips paid by

    3   customers for his benefit.           While customers were encouraged

    4   to provide a base tip of $5 on any particular delivery in

    5   paying through the Amazon app, that obviously doesn't

    6   necessarily mean that any particular customer actually did

    7   so.   The only concrete evidence submitted on tips was the

    8   evidence of the amounts disbursed by Amazon and thereafter

    9   distributed in full to the employees based upon the data

   10   supplied by Amazon.       Nothing more than speculation was

   11   presented in an effort to rebut the validity of the data

   12   obtained by the Debtor on tips and utilized in paying Lines

   13   and others.

   14         Next, limitations.      Putting aside Lines' retaliatory

   15   discharge claim, I also find that all of Lines' claims, other

   16   than with respect to his claim for unpaid tips tied to his

   17   final paycheck, are barred by the two-year limitations period

   18   of the FLSA.     Because I do not find any willful violation of

   19   the FLSA occurred, a three-year limitations period is not

   20   applicable.     And here, it is clear that the Lines Litigation

   21   was commenced as a collective action and Lines never filed a

   22   written consent to join the action prior to the Debtor's

   23   filing of bankruptcy and the imposition of the automatic

   24   stay.

   25         Turning to retaliatory discharge, as to this claim I find
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    1   that no adverse employment action was taken by the Debtor

    2   because Lines unilaterally communicated -- decided and

    3   communicated that he had decided to quit rather than being

    4   terminated.     But even if he were treated as having been

    5   constructively discharged and that he had satisfied a prima

    6   facie retaliatory discharge case, I find that the Debtor met

    7   its burden in substantiating the basis for his discharge on

    8   account of sending the text message that he quit and on

    9   account of what may have been the growing friction that was

   10   developing based upon Lines' own misbelief of his being

   11   undercompensated.       And I further find that Lines did not meet

   12   his follow-up burden of establishing that any such basis was

   13   merely pretext for discriminatory behavior.

   14         Based upon all the foregoing, I further find that there

   15   is no basis for an award of liquidated damages or attorney's

   16   fees and that the Lines Individual Claim should be disallowed

   17   in full.

   18         Turning to the Mukes Individual Claim -- and, again, a

   19   recap of the claim.       The Mukes proof of claim is also lacking

   20   in detail, only asserting that the claim is for damages

   21   allowable under the FLSA.        However, in Mukes' response to the

   22   Debtor's claim objection, he provides greater clarity,

   23   asserting that the Debtor violated the FLSA by failing to pay

   24   him overtime of $752.74, and that based upon that he also

   25   asserts that he should recover an additional equal sum as
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    1   liquidated damages, plus unspecified attorney's fees.

    2         For the first time, he also discloses that his individual

    3   claim is also filed on behalf of the Nine Mukes Litigation

    4   Opt-Ins and that he estimates generalized amounts for each of

    5   the nine being roughly $1,500 to $2,000 per individual, to

    6   arrive at a total claim of $21,200.

    7         First, in relation to Mukes' claim for himself, the

    8   evidence demonstrated that Mukes simply miscalculated amounts

    9   in concluding that he had not been paid for overtime.                 In

   10   other words, there is no basis for the allowance of any

   11   amount, and thus, correspondingly, no basis for the allowance

   12   of any liquidated damages or attorney's fees in relation

   13   thereto.

   14         As for the Nine Mukes Litigation Opt-Ins, for many of the

   15   reasons previously discussed, there was no authority for

   16   Mukes to assert a proof of claim on their behalf in his

   17   individual claim, not to mention the lack of any disclosure

   18   within his proof of claim that that was what he was

   19   purporting to do.

   20         Even so, even if Mukes would have had the authority to

   21   act on behalf of the Nine Mukes Litigation Opt-Ins, there is

   22   no evidence that any of the Nine Mukes Litigation Opt-Ins

   23   were uncompensated in any way.          In this regard, other than

   24   the testimony of Valerie Miller, no evidence at all was

   25   introduced in relation to the other eight Mukes Litigation
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    1   Opt-Ins.     And in the case of Valerie Miller, her testimony

    2   simply didn't even rise to the level of a dispute.

    3         Accordingly, the Mukes Individual Claim will also be

    4   disallowed in full.

    5         Turning to the Amazon Logistics Claim, as indicated, on

    6   or about March 1, 2015, the Debtor entered into a work order

    7   agreement with Amazon Logistics, Inc. for the provision of

    8   delivery services.       And that's at Debtor Exhibit 63.

    9   Pursuant to the terms of the work order, the parties also

   10   agreed that the relationship would be subject to and

   11   controlled by certain terms of service.             The applicable terms

   12   of service are also included as part of Debtor's Exhibit 63.

   13         In particular, Amazon asserts, pursuant to Section 9 of

   14   the terms of service, which is entitled Indemnification, that

   15   it is entitled to be indemnified and held harmless for any of

   16   the fees and expenses and potential liability that may be

   17   incurred by Amazon in connection with the Lines Litigation.

   18         Turning to the language of the indemnification provision,

   19   it's broken into two subdivisions.           In Subdivision A, it

   20   provides:     You -- being Tenet Concepts, the Debtor -- will

   21   defend, indemnify, and hold harmless Amazon and its

   22   affiliates and successors and each of their respective

   23   directors, officers, and employees, each an indemnified

   24   party, and collectively, the Indemnified Parties, from any

   25   third-party allegation or claim based on or any loss, damage,
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    1   settlement cost, expense, and any other liability, including

    2   but not limited to reasonable attorney's fees and expenses

    3   arising out of or in connection with (1) any allegation or

    4   claim of negligence, strict liability, or misconduct of you

    5   or your personnel; (2) a breach of these terms, the program

    6   policies, or any work order by you or your personnel; (3) any

    7   action or inaction by you or any of your personnel,

    8   including, without limitation, any and all loss or damage to

    9   personal property or bodily harm, including death, or (4) any

   10   allegation or claim that you or any of your personnel failed

   11   to comply with applicable law.          However, the foregoing

   12   indemnification obligation does not apply to the extent that

   13   any claim subject to indemnification results from the

   14   negligence or willful misconduct of the indemnified parties.

   15   That concludes Subpart A.

   16         In Subpart B, it goes on to provide:            Your duty to defend

   17   is independent of your duty to indemnify.             Your obligations

   18   under this section are independent of any of your other

   19   obligations under these terms.          You will use counsel

   20   reasonably satisfactory to the indemnified parties to defend

   21   each indemnified claim, and the indemnified parties will

   22   cooperate at your expense with you in the defense.                You will

   23   not consent to the entry of any judgment or enter into any

   24   settlement without the indemnified parties' prior written

   25   consent.
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    1         As previously indicated, the Amazon Claim has been

    2   asserted as partly a liquidated claim and partly an

    3   unliquidated and/or contingent claim.            The liquidated aspects

    4   of the claim are, in the attachment to the proof of claim,

    5   there's an assertion of having incurred legal fees by Littler

    6   Mendelson of $29,464 and by Morgan, Lewis & Bockius of

    7   $15,528.83 as of the -- I believe it was as of the petition

    8   date.    It goes on to simply provide that, to the extent that

    9   there are continuing legal fees or costs or liability, that

   10   there is an assertion of a claim for those currently

   11   unliquidated amounts.

   12         The objection that was filed to the claim was filed by

   13   Mr. Lines individually and purportedly for similarly-situated

   14   -- and for purportedly those similarly situated, including

   15   Mukes and Valerie Miller.        Mr. Lines points out that he has

   16   alleged in the Lines Litigation that Amazon.com was negligent

   17   and/or had itself engaged in misconduct, and that, as a

   18   result, the exclusion to indemnification in Part A of Section

   19   9 of the indemnification provision should prevent any

   20   allowance of the claim.

   21         In support, Mr. Lines also argues or emphasizes that the

   22   Debtor's only customer and only source of revenue is Amazon,

   23   and that in providing services for Amazon the drivers were

   24   engaging in certain conduct which might sort of show some

   25   sense of uniformity with Amazon in the sense of wearing
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    1   Amazon clothing and putting Amazon stickers on their cars at

    2   one point in time.       And there is also discussion about the

    3   whole issue with the tips going through the Amazon

    4   application before being transferred to the Debtor.

    5         In sum, Mr. Lines points out these things in an effort to

    6   argue that Amazon effectively controlled the employment of

    7   Mr. Lines and other similarly-situated drivers and exercised

    8   control over the payment of, among other things, tips, and

    9   that, as a result of the allegations made and the assertions

   10   made, that there is no basis for the Debtor to be assuming

   11   any liability for Amazon's defense based upon the exceptions

   12   set out in Paragraph 9(a) of the indemnification provisions.

   13         In making these arguments, Mr. Lines also, as far as

   14   focusing on what amounts to a dual employment argument, that

   15   Amazon itself was an employer of Lines and similarly-situated

   16   drivers as much as the Debtor was, he points to the economic

   17   reality test that's set out in the Goldberg v. Whitaker House

   18   Coop case, 366 U.S. 28, a 1961 opinion, which points out

   19   that, in determining whether or not an employer-employee

   20   relationship exists, that the labeling is not particularly

   21   relevant; what it boils down to is an actual necessity to

   22   look at the economic reality of the situation.               And then also

   23   highlights the Williams v. Henagan case, a Fifth Circuit 2010

   24   opinion at 595 F.3d 610, which sets out a four-factor test

   25   for considering the -- or, I should say, filtering the
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    1   economic reality test through the lens of factors and

    2   identifies the four factors as:           (1) whether the putative

    3   employer possessed the power to hire and fire the employees;

    4   (2) whether the putative employer supervised and controlled

    5   the employee work schedules or conditions of employment; (3)

    6   whether the putative employer determined the rate and method

    7   of payment; and (4) whether the putative employer maintained

    8   employment records.

    9         Mr. Lines also points to the fact that the arrangement

   10   that was agreed upon between the Debtor and Amazon was not

   11   predicated on actual expense incurred by the Debtor in

   12   providing delivery services but was based on other metrics,

   13   such as planned routes and the length of those routes and

   14   what have you.

   15         In responding to the claim objection, Amazon asserts,

   16   among other things, that Mr. Lines has effectively conflated

   17   the duty to defend with the duty to indemnify, essentially

   18   effectively jumping the gun, if you will, to conclude that

   19   the mere allegation of any suggestion of negligence or

   20   willful misconduct on the part of Amazon is sufficient to

   21   negate the requirement of the Debtor to provide a defense or

   22   to provide any indemnification.           It also takes issues with

   23   some of the characterization with respect to the compensation

   24   terms, and certainly with respect to the control aspects of

   25   what was alleged.
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    1         At trial, what was evident to me is that clearly there

    2   were certain aspects of the relationship between the Debtor

    3   and Amazon that sort of create some semblance of unity in the

    4   sense of, being the only customer of the Debtor, it was not

    5   surprising that, for example, as they're delivering Amazon

    6   products, they might have some Amazon branding that they

    7   would use.     While that, I believe, could ostensibly create

    8   some serious confusion for the customers, I don't know that

    9   that rises to the level of creating any confusion between the

   10   Debtor and Amazon, or with respect, for that matter, to the

   11   drivers of the Debtor, for the reasons -- other reasons with

   12   respect to how the actual management of the Debtor's

   13   employees was orchestrated.

   14         What became clear from the evidence is that the Debtors

   15   did report directly to -- I'm sorry.            The drivers did report

   16   directly to Debtor employees.          The dispatchers were Debtor

   17   employees.

   18         Even though Amazon had the ability to track where the

   19   drivers were through GPS technology, just as the Debtors were

   20   tracking where the drivers were, this makes sense in context

   21   because, in essence, to have a seamless operation, you had to

   22   have the warehouse personnel of Amazon in a position to have

   23   loaded up and ready to go merchandise for a driver who was

   24   returning to the warehouse to pick up a new delivery, just as

   25   much as the Debtor needed to have information with respect to
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    1   how things were progressing on the delivery routes in order

    2   to assist drivers if they were getting bogged down in traffic

    3   and/or provide assistance through basically realigning

    4   another driver to potentially pick up a delivery if things

    5   were getting bogged down, again, by virtue of traffic or

    6   otherwise.

    7         The fact that Amazon had the ability to track drivers

    8   does not in and of itself reflect any indicia of control with

    9   respect to the Debtor's drivers.           And the evidence was clear

   10   that the Debtor's drivers ultimately were directed by the

   11   Debtor, under the control of the Debtor.             The compensation

   12   was paid by the Debtor.        The terms of the compensation were

   13   dictated by the Debtor.        The recordkeeping with respect to

   14   payments of the Debtor were handled by the Debtor.                The sole

   15   exception relating to the tips issue, and the tips issue was

   16   a function of the fact that tips were handled -- basically,

   17   payments in general were handled through the application, as

   18   opposed to petty cash being given to drivers, which I was

   19   satisfied was explainable by virtue of concerns with respect

   20   to safety of the drivers and also just avoiding having cash

   21   floating around with individuals as opposed to a more secure

   22   methodology of having it go through electronic means in a

   23   modern financial society.

   24         I don't have any indication that was presented to me that

   25   Amazon in any way misrepresented what the tips were that were
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    1   received and passed along to the Debtor, fraudulently

    2   concealed tips that were paid and went through Amazon to the

    3   Debtor.    There was obviously a lot of speculation and

    4   innuendo, but, frankly, no evidence at all of any

    5   misapplication or misappropriation or misconduct on the part

    6   of Amazon in this context.

    7         Not that it's necessarily particularly relevant to the

    8   indemnification provisions, but I was also satisfied that

    9   there wasn't a situation where it appeared that the terms of

   10   the engagement between the Debtor and Amazon were such that

   11   it was creating some sort of undue influence over the

   12   Debtor's actions because of being short on cash to be able to

   13   pay the drivers, if that makes sense.            I had no indication

   14   that the compensation -- in fact, if anything, there was some

   15   suggestion that the compensation did provide some level of

   16   profit/liquidity to the Debtor sort of above and beyond its

   17   costs of operation.

   18         More importantly, just looking at the plain provisions of

   19   the indemnification provision, while Amazon suggests that

   20   essentially the duty to defend may -- or, at least there

   21   seemed to be some indication of an argument that the duty to

   22   defend not only entitles Amazon to the right to all defense

   23   costs being paid on the front end before there's any

   24   determination of the actual claims asserted, but sort of

   25   immunizes that against any type of reimbursement right in the
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    1   event that there is a subsequent determination of misconduct

    2   on the part of Amazon.

    3         I'm not sure that I am prepared to go that far to the

    4   extent that that is the suggestion, but that's not really

    5   even necessary at this juncture.           The question here is

    6   whether or not Section 9 of the terms of service require a

    7   duty of defense and for those expenses to be paid pending the

    8   outcome of any litigation.           And on that, I do find that the

    9   agreement does require a duty of defense and that any

   10   suggestion to the contrary just simply based upon allegations

   11   in litigation is not supported and an insufficient basis for

   12   any kind of disallowance of the Amazon Claim on that basis.

   13         Given that that was the -- that those were really the

   14   sole nature of the objection to the Amazon Claim, I'm going

   15   to overrule the objection to the allowance of the claim on

   16   that basis.

   17         And at this point, I'm not going to -- because the claim

   18   is still, in some respects, unliquidated and contingent, I'm

   19   not at this point just going to blanket allow the claim.                  I

   20   think at some point we're going to have to figure out what to

   21   do with that claim to the extent that the agreement is not

   22   assumed by the Debtor.        And perhaps it will be assumed and it

   23   effectively becomes a moot issue.           But if it's not assumed,

   24   then any other bases for objection, once liquidated amounts

   25   are asserted or if we ever get to any kind of estimation
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    1   issue in connection with the claim, the Court is not

    2   precluding the Debtor in any way from raising those issues at

    3   that time.     But for purposes of what has been asserted so far

    4   and for purposes of just the nature of the objection to

    5   allowance that has been raised, here being really a textual

    6   contractual argument, the Court is not persuaded by that

    7   argument and will overrule the objection on that basis.

    8         That concludes the Court's rulings with respect to the

    9   Claims Objection matters.        As indicated, we'll have to come

   10   back with respect to the adversary proceeding.

   11         Do the parties have any questions?

   12              MS. REA:    Your Honor, what would you like -- what

   13   would you like the orders to look like?             For the reasons

   14   stated on the record, the claim is disallowed, you know?                  Or

   15   the claim objection is overruled?

   16              THE COURT:     I think that's probably going to be the

   17   simplest way to do it.        I'll -- just for purposes of the

   18   record, I will, until the entry of the order, reserve the

   19   right to supplement any of the bases of my decision.                 And so

   20   to the extent that there's anything that I have missed that

   21   the parties believe need to be in any kind of order, I will

   22   certainly consider that in the context of the submission of a

   23   proposed order.       But I'm certainly fine with something really

   24   simple, just simply saying, for the reasons stated on the

   25   record, the claim is x.
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    1              MS. REA:    Okay.    I'll do that and then circulate it

    2   to all the parties, including Mr. Lackey.

    3              THE COURT:     All right.     Very good.      Anything else?

    4              MS. REA:    No.   Thank you.

    5              THE COURT:     All right.     I did want to tell you all

    6   that I --

    7              MR. LACKEY:     No, Judge, thank you.

    8              THE COURT:     All right.     I did want to tell you all

    9   that the -- I did find that the parties presented the case

   10   very well.     You all did an excellent job at trial, and I

   11   appreciate that.      And having had more and more experience in

   12   court seeing lots of variations of methodology, I appreciate

   13   how well you all did and how streamlined and efficient you

   14   all were.     Okay?   All right.      Thank you.     The Court will be

   15   in recess.

   16              MR. GIBSON:     Thank you.

   17              THE CLERK:     All rise.

   18              MR. LACKEY:     Thank you, Judge.

   19         (Proceedings concluded at 3:16 p.m.)

   20                                     --oOo--
                                        CERTIFICATE
   21
             I certify that the foregoing is a correct transcript from
   22   the digital sound recording of the proceedings in the above-
        entitled matter.
   23
             /s/ Kathy Rehling                                      05/21/2019
   24
        ______________________________________                  ________________
   25   Kathy Rehling, CETD-444                                      Date
        Certified Electronic Court Transcriber
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                          Service List
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Service List-Plan Solicitation                                                   United States Trustee
                                      Tenet Concepts, LLC
                                                                                 Erin Schmidt, Trial Attorney
Tenet Concepts, LLC                   8200 Cameron Rd., Suite A198
                                                                                 1100 Commerce St., Room 976
#5927                                 Austin, TX 78754
                                                                                 Dallas, TX 75242


Internal Revenue Service
                                      Thomas C. Mauriello                        Brent E. Harris
Centralized Insolvency Operations
                                      1328 Calla Lily Blvd.                      PO Box 157
PO Box 7346
                                      Leander, TX 78641                          Goodrich, TX 77335-0157
Philadelphia, PA 19101-7346


                                                                                 BSX Insurance
Lloyd P. Jones, III                   David Scott Cass
                                                                                 Cole Walters
916 Cavalry Ride Trail                6041 Country South Lane
                                                                                 3355 W. Alabama
Austin, TX 78732                      Midlothian, TX 76065
                                                                                 Houston, TX 77098


Protective Insurance Company          IPFS Corporation                           IPFS Corporation
Attn: Jeffrey A. Hunt, VP-Programs    Attn: Rebecca Berlanga                     Attn: Robyn Provost
111 Congressional Blvd., Suite 500    PO Box 730223                              24722 Network Place
Carmel, IN 46032                      Dallas, TX 75373-0223                      Chicago, IL 60673-1247


                                      McDonald Sanders, LLC                      Vanbridge LLC
Littler Mendelson P.C.
                                      Attn: Russell Davenport                    Attn: Mike Fitzsimmons
PO Box 45547
                                      777 Main St., Suite 1300                   PO Box 416103
San Francisco, CA 94145
                                      Fort Worth, TX 76102                       Boston, MA 02241-6103

                                      Advance business Capital, LLC              Triumph Business Capital
The Hartford                          dba Triumph Business Capital               c/o Dennis Olson
Attn: Norma Richards                  c/o Jared A. Ullman
                                      Ullman & Ullman, P.A.
                                                                                 Olson Nicoud & Gueck, LLP
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                                      7700 West Camino Real, Suite 401           10440 N. Central Expwy., Suite 1100
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Accurate Background                   ADP, LLC                                   AT&T Mobility
7515 Irvine Center Drive              400 W Covina Blvd.                         PO Box 6463
Irvine, CA 92619                      San Dimas, CA 91773                        Carol Stream, IL 60197-6463



Austin Printer Repair                 Before and After Paint Inc.                Blue Cross Blue Shield of Texas
1019 W Rundberg Lane, Apt. A          13626 Ann Louise                           PO Box 731428
Austin, TX 78758                      Houston, TX 77086                          Dallas, TX 75373-1428



                                                                                 California Secretary of State
C-Net Technologies                    California Secretary of State
                                                                                 Franchise Tax Board
3513 SW H.K. Dodgen Loop, Suite 204   PO Box 944228
                                                                                 PO Box 942857
Temple, TX 76502                      Sacramento, CA 94244-2280
                                                                                 Sacramento, CA 94257-0511



Capital One                           Chase Bank                                 Clear Company HRM
PO Box 71083                          PO Box 15123                               PO Box 419189
Charlotte, NC 28272-1083              Wilmington, DE 19850–5123                  Boston, MA 02241-9189
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Comptroller of Public Accounts     Concentra Occupational Health Center        Concentra Occupational Health Center
111 E. 17th St.                    PO Box 488                                  PO Box 9005
Austin, TX 78774-0100              Lombard, IL 60148-0488                      Addison, TX 75001-9005



Contigo Technology LLC             Cooper CPA Group, PC                        Dental Select
8127 Mesa Dr., Suite B206-122      15050 Fairfield Village Dr., Suite 130      PO Box 301680
Austin, TX 78759                   Cypress, TX 77433                           Dallas, TX 75303-1680



                                   Enterprise Rent-A-Car/Enterprise Holdings
Enterprise Fleet Management                                                    FedEx
                                   Damage Recovery Unit
PO Box 80089                                                                   PO Box 660481
                                   PO Box 843369
Kansas City, MO 64180-0089                                                     Dallas, TX 75266-0481
                                   Kansas City, MO 64184-3369



First Insurance of CA Funding      Franchise Tax Board                         Illinois Dept. of Revenue
450 Skokie Blvd., Suite 1000       PO Box 942857                               PO Box 19006
Northbrook, IL 60062-7917          Sacramento, CA 94257-0531                   Chicago, IL 62794-9006



Infinisource, Inc.                 Made Affordable Pressure Washing
                                                                               Metropolitan Property & Casualty
Attn: Finance Dept.                Attn: Terrence Dillard
                                                                               PO Box 783861
PO Box 889                         16114 Bowridge Lane
                                                                               Philadelphia, PA 19178-3861
Coldwater, MI 49036                Houston, TX 77053



Molano's Hand Wash                 Picone & Associates Inc.                    Poster Compliance Center
11019 Shadowfield                  439 Main St., #5                            3687 Mt. Diablo Blvd., Suite 100a
Houston, TX 77064                  Islip, NY 11751                             Lafayette, CA 94549



Principle Distribution, LLC        Regions Bank                                Regus - Newark
8200 Cameron Rd., Suite A198       3017 W. 7th St., Suite 410                  39899 Balentine Dr., Suite 200
Austin, TX 78754                   Fort Worth, TX 76107                        Newark, CA 94560



Regus – Chicago                    Regus – Houston                             Regus – San Antonio
350 Northwest Hwy., Suite 300      13201 NW Frwy., Suite 800                   1100 NW Loop 410, Suite 700
Park Ridge, IL 60068               Houston, TX 77040                           San Antonio TX 78213



Scopelitis
                                   Stuco Pros LLC                              Sunrise Identity
Garvin Light Hanson & Feary
                                   4544 Prospect Dr.                           28250 Network Place
10 West Market St., Suite 1500
                                   House Springs, MO 63051                     Chicago, IL 60673-1283
Indianapolis, IN 46204



Texas Mutual Insurance Company     Travelers CL Remittance Center              United Fire Group
PO Box 841843                      PO Box 660317                               PO Box 3244
Dallas, TX 75284-1843              Dallas, TX 75266-0317                       Cedar Rapids, IA 52406-3244
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Wageworks Inc.                               Chen Xu
                                             c/o William David Turley                      Enterprise Holdings
f/k/a Conexis
                                             The Turley Law Firm, APLC                     600 Corporate Park Dr.
PO Box 8363                                  7428 Trade St.                                St. Louis, MO 63105
Pasadena, CA 91109-8363                      San Diego, CA 92121


                                             Jeffrey Lines
Illinois Dept. of Revenue                    c/o Robert Valli, Jr./S. Kane/James Vagnini   Triumph Business Capital
PO Box 19006                                 Valli Kane & Vagnini, LLP                     701 Canton Dr., Suite 100
Chicago, IL 62794-9006                       600 Old Country Rd., Suite 519                Coppell, TX 75019
                                             Garden City, NY 11530


WEX Bank                                     Willie J. Mukes
                                             c/o Joe Micah Williams                        Commerce Bank
fka Wright Express Fin. Svs. Corp.
                                             The Law Offices of Joe M. Williams            PO Box 414084
PO Box 6293                                  8866 Gulf Freeway, Suite 384                  Kansas City, MO 64141-4084
Carol Stream, IL 60197-6293                  Houston, TX 77019

                                                                                           Texas Comptroller of Public Accounts
Jeffrey Lines                                Willie J. Mukes
                                                                                           c/o Courtney Hull/Sherri Simpson
c/o Jay D. Ellwanger/Holt Major Lackey       c/o John Bruster Loyd
                                                                                           Attorney General’s Office
Ellwanger Law LLLP                           Law Office of Jones, Gillaspia & Loyd LLP
                                                                                           Bankruptcy & Collections Div.
8310-1 N. Capital of Texas Hwy., Suite 190   4400 Post Oak Parkway, Suite 2360
                                                                                           PO Box 12548
Austin, TX 78731                             Houston, TX 77027
                                                                                           Austin, TX 78711-2548


IPFS Corporation
                                             Texas Mutual Insurance Co.                    Franchise Tax Board
Attn: Lisa Chandler
                                             6210 E. Highway 290                           PO Box 2952
30 Montgomery St., Suite 1000                                                              Sacramento, CA 95812-2952
                                             Austin, TX 78723
Jersey City, NJ 07302


EAN Services, LLC                            Travis Hawks                                  Amazon Logistics, Inc.
dba Enterprise Rent A Car & National Car     c/o Keating Law offices, PC                   Attn: General Counsel
14002 E. 21st St., Suite 1500                111 West Washington St., Suite 1631           410 Terry Avenue North
Tulsa, OK 74134                              Chicago, IL 60602                             Seattle, WA 98109-5210


                                             EAN Services, LLC                             C.M., a minor child
Amazon Prime Now Delivery Drivers
                                             c/o Scott R. Larson                           c/o Paul Wolf
8310-1 N. Capital of Texas Highway
                                             Bell Nunnally                                 Mitchell Hoffman & Wolf
Suite 190                                                                                  221 North LaSalle St.
                                             3232 McKinney Ave., Suite 1400
Austin, TX 78731                                                                           Chicago, IL 60601
                                             Dallas, TX 75204

Amazon Logistics, Inc.                       Jeffrey Lines
                                                                                           Aon Affinity Insurance Services, Inc.
c/o Darren G. Gibson/Salvador Davila         c/o David W. Henderson
                                                                                           Attn: Dolores McGinty
Littler Mendelson, PC                        Ellwanger Law LLLP
100 Congress Avenue, Suite 1400                                                            1100 Virginia Dr., Suite 250
                                             8310-1 N. Capital of Texas Hwy, Suite 190
Austin, TX 78701                                                                           Fort Washington, PA 19034
                                             Austin, TX 78731
